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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
                                          :
MARNIE O’BRIEN                            :
                     Plaintiff,           :
      v.                                  :           Civil Nos. 2:19-cv-06078-JMG
                                          :                      2:20-cv-00457-JMG
                                          :
MIDDLE EAST FORUM,                        :
DANIEL PIPES (individually), and          :
GREG ROMAN (individually),                :
                     Defendants.          :
____________________________________:
                                          :
GREG ROMAN                                :
  Counterclaim and Third-Party Plaintiff, :
                                          :
                     v.                   :
                                          :
MARNIE O’BRIEN                            :
      Counterclaim Defendant,             :
                     and                  :
MATTHEW EBERT,                            :
      Third-Party Defendant.              :
____________________________________:

                                             ORDER

       AND NOW, this 25th day of June, 2020, following a telephonic status conference with all

counsel and self-represented parties, IT IS HEREBY ORDERED as follows:

       The parties shall contact Judge Gallagher’s Civil Deputy to schedule a second telephonic

status conference to be held on or about August 4, 2020. The parties should be prepared to

discuss the status of discovery and settlement discussions, if any, and the feasibility of mediation.

                                                      BY THE COURT:


                                                      /s/ John M. Gallagher
                                                      JOHN M. GALLAGHER
                                                      United States District Court Judge
